                  Case 4:22-cr-00114-JRH-CLR Document 222 Filed 01/29/24 Page 1 of 1
AO 247 (Rev. 11/23) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)      Page 1 of 2 (Page 2 Not for Public Disclosure)




                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                           Southern District of Georgia
                                                               Savannah Division

                     United States of America
                                v.                                           )
                                                                             ) Case No: 4:22CR00114-5
                            Tony Heldore                                     )
                                                                             ) USM No: 33662-037
Date of Original Judgment:         August 10, 2023                           )
Date of Previous Amended Judgment: N/A                                       ) Maria Christene Mekras Justus
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney

                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)

        Upon motion of ☐ the defendant ☐ the Director of the Bureau of Prisons ☒ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
          ☐ DENIED.          ☒ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of        35 months                  is reduced to                 28 months                  .
                             (See Page 2 for additional parts. Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                          August 10, 2023          shall remain in effect.
IT IS SO ORDERED.

Order Date:              January 29, 2024



Effective Date:          February 1, 2024
                     (if different from order date)                                                 R. Stan Baker
                                                                                              United States District Judge
                                                                                              Southern District of Georgia
